                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                  WESTERN DIVISION

KELLY FLOCKHART,                              |
                                              |
                Plaintiff,                    |
                                              |
vs.                                           |       Case No. 5:17-cv-04019-MWB
                                              |
SYNCHRONY BANK,                               |
                                              |
                Defendant.                    |

              STIPULATED ORDER OF DISMISSAL WITHOUT PREJUDICE

          Plaintiff Kelly Flockhart (“Plaintiff”), by counsel, and Defendant Synchrony Bank

(“Synchrony”), by counsel, pursuant to Fed. R. Civ. P. 41(a), hereby stipulate to the entry of an

order dismissing this action without prejudice, with each side to bear its own fees, costs, and

expenses. The parties having stipulated hereto, and the Court being otherwise fully advised:

          IT IS HEREBY ORDERED THAT the above-captioned action is hereby dismissed with

prejudice in its entirety pursuant to Fed. R. Civ. P. 41(a), with each party to bear its own fees and

costs.

          SO ORDERED.

                                                      ______________________________
                                                      C.J. Williams
                                                      Chief United States Magistrate Judge




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Respectfully submitted,


/s/ J.D. Haas                                      /s/ Michael A. Dee
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                                                   ATTORNEYS FOR DEFENDANT,
                                                   SYNCHRONY BANK


                                      CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 12th day of April, 2018, I electronically filed

the foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record.

                                                  /s/ Lauren M. Bunce
                                                  Lauren M. Bunce




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